                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHER DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


 SHENZHEN WENWEN NEW WORLD
 TRADING COMPANY LIMITED,
                                                         Civil Action No. 1:18-cv-4778
        Plaintiff
                                                          JURY TRIAL DEMANDED
                v.

 THE PARTNERSHIPS AND
 UNINCORPORATED ASSOCIATIONS ON
 SCHEDULE “A”

        DEFENDANTS.


                                         COMPLAINT

       Plaintiff, Shenzhen Wenwen New World Trading Company Limited (“Plaintiff”) files this

complaint against the partnerships and unincorporated associations identified on Schedule A,

attached hereto (collectively, “Defendants”), and would show as follows:

                                           PARTIES

       1.      Plaintiff, Shenzhen Wenwen New World Trading Company Limited is a limited

company organized under the laws of China, with its principle place of business at 1st Floor,

Building 31, Shangzao Village, Dalang Street, Longhua District, Shenzhen, Guangdong, PRC.

       2.      On information and belief, Defendants who operate the Internet Stores through the

Wish.com online marketplace, identified on Schedule A, are residents of China.

                                JURISDICTION AND VENUE

       3.      This Court has subject matter jurisdiction pursuant to 15 U.S.C. § 1051 et eq. and

28 U.S.C. § 1338(a)–(b) and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this

action that arise under the laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because


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the state law claims are so related to the federal claims that they form part of the same case or

controversy and derive from a common nucleus of operative facts.

        4.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, as Defendant’s have

committed acts of complained of herein within this judicial district.

        5.      Upon information and belief, Defendants are subject to this Court’s specific and

general jurisdiction due to at least their substantial business in the forum, include: (i) at least a

portion of the acts complained; (ii) regularly doing or soliciting business, engaging in other

persistent courses of conduct, and/or deriving substantial revenue from goods and services

provided to individuals in Illinois and in this Judicial District; and (iii) directly targeting consumers

in the United States, including Illinois, through at least the fully interactive commercial Internet

stores operating under the Wish.com Marketplace Accounts identified in Schedule A attached

hereto (collectively, the “Wish.com Stores”), including selling, offering for sale, and shipping

counterfeit goods using Plaintiff’s registered trademark to residents of Illinois, including

specifically selling the counterfeit goods ordered on Plaintiff’s behalf to a resident of this District.

                                              BACKGROUND

        6.      Plaintiff exclusive licensee of U.S. Trademark Registration No. 4,977,725

(“EDEALYN”) with all rights of enforcement. The Registration is valid, subsisting, and in full

force and effect. A true and correct copy of the federal trademark registration certificate for the

mark is attached hereto as Exhibit 1.

        7.      Plaintiff has used the EDEALYN mark continuously in commerce since at least

June of 2015 for use with its automotive products.

        8.      Plaintiff files this action stop online counterfeiters from injuring Plaintiff’s

reputation and goodwill by selling and/or offering for sale products in connection with Plaintiff’s

EDEALYN trademark.
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        9.     The EDEALYN trademark is distinctive and identifies the merchandise as goods

from Plaintiff. The registration for the EDEALYN trademark constitute prima facie evidence of

validity and of Plaintiff’s exclusive right to use the EDEALYN trademark pursuant to 15 U.S.C.

§ 1057 (b).

        10.    The Defendants create numerous Wish.com Stores and design them to appear to be

selling genuine Plaintiff products, while selling counterfeit versions of Plaintiff’s products. The

Wish.com Stores identified in Schedule A appear to be related entities. They all share several

distinct and unique features such as using nearly identical store designs and using identical product

pages, including identical pictures and product descriptions. This establishes a logical relationship

between them suggesting that Defendants’ illegal operations arise out of the same transaction,

occurrence, or series of transactions or occurrences.

        11.    Defendants are individuals and business entities who, upon information and belief,

reside in the People’s Republic of China or other foreign jurisdictions. Defendants conduct

business throughout the United States, including within Illinois and in this Judicial District,

through the operation of the fully interactive commercial websites and online marketplaces

operating under the Wish.com Stores. Each Defendant targets the United States, including Illinois,

and has offered to sell and, on information and belief, has sold and continues to sell counterfeit

EDEALYN products to consumers within the United States, including Illinois and in this Judicial

District.

        12.    The success of the EDEALYN brand has resulted in its counterfeiting. Plaintiff has

identified numerous marketplace stores on wish.com, including the Wish.com Stores, which were

offering for sale, selling, and importing counterfeit EDEALYN products to consumers in this




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Judicial District and throughout the United States. Defendants have persisted in creating the

Wish.com Stores.

       13.     Plaintiff has not licensed or authorized Defendants to use its EDEALYN trademark,

and none of the Defendants are authorized retailers of genuine EDEALYN products.

       14.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and contact information to register and operate their network of Wish.com Stores.

For example, Defendants use the wish.com platform as it conceals their identity and contact

information. Upon information and belief, Defendants regularly create new marketplace accounts

in order to avoid efforts by trademark owners to stop Defendants’ counterfeiting. Defendants

engage in these tactics to conceal their identities, the full scope of their counterfeiting operation,

and to avoid being shut down.

       15.     In addition to operating under multiple fictitious names, Defendants in this case and

defendants in other online counterfeiting cases use a variety of other methods to evade enforcement

efforts including simply registering new online marketplace accounts once they receive notice of

a lawsuit and operating multiple credit card merchant accounts to evade collection efforts by

Plaintiffs armed with enforceable judgments. Upon information and belief, Defendants maintain

off-shore bank accounts and regularly move funds from their PayPal accounts to off-shore bank

accounts outside the jurisdiction of this Court.

       16.     Defendants, without any authorization or license from Plaintiff, have knowingly

and willfully used and continue to use the EDEALYN trademark in connection with the

advertisement, distribution, offering for sale, and sale of counterfeit EDEALYN products into the

United States and Illinois over the Internet. Each Defendant Wish.com Store shipped counterfeit




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products to the United States, including Illinois, and, has in fact sold or offered for sale the products

during the course of Plaintiff’s preliminary investigations.

        17.     Defendants’ use of the EDEALYN trademark in connection with the advertising,

distribution, offering for sale, and sale of counterfeit EDEALYN products, including the sale of

counterfeit EDEALYN products into Illinois, is likely to cause and has caused confusion, mistake,

and deception by and among consumers and is irreparably harming Plaintiff.

                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

        18.     Plaintiff repeats and incorporates by reference herein its allegations contained in

the above paragraphs of this Complaint.

        19.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the registered EDEALYN trademark in

connection with the sale, offering for sale, distribution, and/or advertising of infringing goods. The

EDEALYN trademark is a distinctive mark.

        20.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and are

still selling, offering to sell, marketing, distributing, and advertising products in connection with

the EDEALYN trademark without Plaintiff’s permission.

        21.     Plaintiff is the exclusive licensee of the EDEALYN trademark. The United States

Registration for the EDEALYN trademark (Exhibit A) is in full force and effect. Upon information

and belief, Defendants have knowledge of Plaintiff’s rights in the EDEALYN trademark and are

willfully infringing and intentionally using counterfeits of the EDEALYN trademark. Defendants’

willful, intentional and unauthorized use of the EDEALYN trademark is likely to cause and is

causing confusion, mistake, and deception as to the origin of the counterfeit goods.




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       22.     Defendants’ activities constitute willful trademark infringement and counterfeiting

under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       23.     Plaintiff has no adequate remedy at law, and if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill associated with

the EDEALYN mark.

       24.     The injuries and damages sustained by Plaintiff have been directly and proximately

caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offering to sell, and

sale of counterfeit EDEALYN products.

                                   COUNT II
                  FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       25.     Plaintiff repeats and incorporates by reference herein its allegations contained in

the above paragraphs of this Complaint.

       26.     Defendants’ promotion, marketing, offering for sale, and sale of counterfeit

EDEALYN products has created and is creating a likelihood of confusion, mistake, and deception

among the general public as to the affiliation, connection, or association with Plaintiff or the origin,

sponsorship, or approval of Defendants’ counterfeit EDEALYN products by Plaintiff.

       27.     By using the EDEALYN trademark in connection with the sale of counterfeit

EDEALYN products, Defendants create a false designation of origin and a misleading

representation of fact as to the origin and sponsorship of the counterfeit EDEALYN products.

       28.     Defendants’ false designation of origin and misrepresentation of fact as to the origin

and/or sponsorship of the counterfeit EDEALYN products to the general public is a willful

violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

       29.     Plaintiff has no adequate remedy at law and, if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its brand.


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                                  COUNT III
      VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                            (815 ILCS § 510, et seq.)

       30.     Plaintiff repeats and incorporates by reference herein its allegations contained in

the above paragraphs of this Complaint.

       31.     Defendants have engaged in acts violating Illinois law including, but not limited to,

passing off their counterfeit EDEALYN products as those of Plaintiff, causing a likelihood of

confusion and/or misunderstanding as to the source of their goods, causing a likelihood of

confusion and/or misunderstanding as to an affiliation, connection, or association with genuine

EDEALYN products, representing that their products have Plaintiff’s approval when they do not,

and engaging in other conduct which creates a likelihood of confusion or misunderstanding among

the public.

       32.     The foregoing Defendants’ acts constitute a willful violation of the Illinois Uniform

Deceptive Trade Practices Act, 815 ILCS § 510, et seq.

       33.     Plaintiff has no adequate remedy at law, and Defendants’ conduct has caused

Plaintiff to suffer damage to its reputation and goodwill. Unless enjoined by the Court, Plaintiff

will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.

                                         JURY DEMAND

       Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

any issues so triable by right.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

       1.      That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under, or in active concert with them


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be temporarily preliminarily, and permanently enjoined and restrained from:

       a.     using the EDEALYN trademark or any reproductions, counterfeit copies, or

              colorable imitations thereof in any manner in connection with the distribution,

              marketing, advertising, offering for sale, or sale of any product that is not a genuine

              EDEALYN product or is not authorized by Plaintiff to be sold in connection with

              the EDEALYN trademark;

       b.     passing off, inducing, or enabling others to sell or pass off any product as a genuine

              EDEALYN product or any other product produced by Plaintiff that is not Plaintiff’s

              or not produced under the authorization, control, or supervision of Plaintiff and

              approved by Plaintiff for sale under the EDEALYN trademark;

       c.     further infringing the EDEALYN trademark and damaging Plaintiff’s goodwill;

       d.     otherwise competing unfairly with Plaintiff in any manner;

       e.     shipping, delivering, holding for sale, transferring or otherwise moving, storing,

              distributing, returning, or otherwise disposing of, in any manner, products or

              inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold

              or offered for sale, and which bear any Plaintiff trademark, including the

              EDEALYN trademark, or any reproductions, counterfeit copies, or colorable

              imitations thereof;

       f.     using, linking to, transferring, selling, exercising control over, or otherwise owning

              the Online Marketplace Accounts or websites, or any other online marketplace

              account or website that is being used to sell or is the means by which Defendants

              could continue to sell counterfeit EDEALYN products; and




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       g.      operating and/or hosting websites at the Defendant Domain Names and any other

               domain names registered or operated by Defendants that are involved with the

               distribution, marketing, advertising, offering for sale, or sale of any product bearing

               the EDEALYN trademark or any reproduction, counterfeit copy or colorable

               imitation thereof that is not a genuine EDEALYN product or not authorized by

               Plaintiff to be sold in connection with the EDEALYN trademark; and

       2.      That Defendants, within fourteen (14) days after service of judgment with notice of

entry thereof upon them, be required to file with the Court and serve upon Plaintiff a written report

under oath setting forth in detail the manner and form in which Defendants have complied with

paragraph 1, a through g, above;

       3.      Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants

and those with notice of the injunction, including any online marketplaces and any related

wish.com entities, social media platforms, Facebook, YouTube, LinkedIn, Twitter, Internet search

engines such as Google, Bing and Yahoo, web hosts for the Defendant Domain Names, and domain

name registrars, shall:

       a.      disable and cease providing services for any accounts through which Defendants

               engage in the sale of counterfeit EDEALYN products using the EDEALYN

               trademark, including any accounts associated with the Defendants listed on

               Schedule A;

       b.      disable and cease displaying any advertisements used by or associated with

               Defendants in connection with the sale of counterfeit EDEALYN products using

               the EDEALYN trademark; and




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       c.     take all steps necessary to prevent links to the Defendant Domain Names identified

              on Schedule A from displaying in search results, including, but not limited to,

              removing links to the Defendant Domain Names from any search index; and

       4.     That Defendants account for and pay to Plaintiff all profits realized by Defendants

by reason of Defendants’ unlawful acts herein alleged, and that the amount of damages for

infringement of the EDEALYN trademark be increased by a sum not exceeding three times the

amount thereof as provided by 15 U.S.C. § 1117;

       5.     In the alternative, that Plaintiff be awarded statutory damages pursuant to 15 U.S.C.

§ 1117(c)(2) of $2,000,000 for each and every use of the EDEALYN trademark;

       6.     That Plaintiff be awarded its reasonable attorneys’ fees and costs; and

       7.     Award any and all other relief that this Court deems just and proper.



DATED July 12, 2018.                                Respectfully submitted,

                                                    /s/David R. Bennett
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